        Case 1:17-cv-02989-AT Document 802 Filed 08/24/20 Page 1 of 52




               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION


  DONNA CURLING, ET AL.,
  Plaintiffs,
                                                  Civil Action No. 1:17-CV-2989-AT
  v.

  BRIAN KEMP, ET AL.,
  Defendants.

               COALITION PLAINTIFFS’ NOTICE OF FILING
                      REDACTED DECLARATIONS

       Coalition Plaintiffs file the attached redacted declarations of Harri Hursti

(Exhibit 1) and Marilyn Marks (Exhibit 2), originally filed at Doc. 800-2 and Doc.

800-3, respectively.

       Respectfully submitted this 24th day of August, 2020.

/s/ Bruce P. Brown                           /s/ Robert A. McGuire, III
Bruce P. Brown                               Robert A. McGuire, III
Georgia Bar No. 064460                       Admitted Pro Hac Vice
BRUCE P. BROWN LAW LLC                         (ECF No. 125)
1123 Zonolite Rd. NE                         ROBERT MCGUIRE LAW FIRM
Suite 6                                      113 Cherry St. #86685
Atlanta, Georgia 30306                       Seattle, Washington 98104-2205
(404) 881-0700                               (253) 267-8530
                    Counsel for Coalition for Good Governance
      Case 1:17-cv-02989-AT Document 802 Filed 08/24/20 Page 2 of 52




/s/ Cary Ichter
Cary Ichter
Georgia Bar No. 382515
ICHTER DAVIS LLC
3340 Peachtree Road NE
Suite 1530
Atlanta, Georgia 30326
(404) 869-7600

               Counsel for William Digges III, Laura Digges,
                     Ricardo Davis & Megan Missett




                                  PAGE 2
      Case 1:17-cv-02989-AT Document 802 Filed 08/24/20 Page 3 of 52




             IN THE UNITED STATES DISTRICT COURT
            FOR THE NORTHERN DISTRICT OF GEORGIA
                       ATLANTA DIVISION

DONNA CURLING, ET AL.,
Plaintiffs,
                                              Civil Action No. 1:17-CV-2989-
v.                                            AT

BRAD RAFFENSPERGER, ET AL.,
Defendants.

                    CERTIFICATE OF COMPLIANCE

      Pursuant to LR 7.1(D), I hereby certify that the foregoing document has

been prepared in accordance with the font type and margin requirements of LR

5.1, using font type of Times New Roman and a point size of 14.

                                              /s/ Bruce P. Brown
                                              Bruce P. Brown




                                     PAGE 3
       Case 1:17-cv-02989-AT Document 802 Filed 08/24/20 Page 4 of 52




              IN THE UNITED STATES DISTRICT COURT
             FOR THE NORTHERN DISTRICT OF GEORGIA
                        ATLANTA DIVISION

 DONNA CURLING, ET AL.,
 Plaintiffs,
                                                Civil Action No. 1:17-CV-2989-
 v.                                             AT

 BRAD RAFFENSPERGER , ET AL.,
 Defendants.

                         CERTIFICATE OF SERVICE

      I hereby certify that on August 24, 2020, a copy of the foregoing was

electronically filed with the Clerk of Court using the CM/ECF system, which

will automatically send notification of such filing to all attorneys of record.

                                                /s/ Bruce P. Brown
                                                Bruce P. Brown




                                       PAGE 4
Case 1:17-cv-02989-AT Document 802 Filed 08/24/20 Page 5 of 52




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        Case 1:17-cv-02989-AT Document 802 Filed 08/24/20 Page 6 of 52




               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION

DONNA CURLING, ET AL.,                 )
                                       )
              Pa          ,            )
                                       )       CIVIL ACTION
   .                                   )
                                       )       FILE NO. 1:17- -2989-AT
BRAD RAFFENSPERGER,                    )
ET AL.,                                )
                                       )
              D       a       .        )

                     DECLARATION OF HARRI HURSTI


       Pursuant to 28 U.S.C. 1746, I declare under penalt of perjur that the

foregoing is true and correct.

       1.    M name is Harri Hursti. I am over the age of 21 and competent to

give this testimon . The facts stated in this declaration are based on m personal

kno ledge, unless stated other ise.

       2.    M background and qualifications in voting s stem c bersecurit are

set forth in m prior declaration, at Document 480-1, pages 37 e eq.

       3.    This statement supplements m declaration of December 16, 2019. I

stand b ever thing in the previous declaration.



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       Case 1:17-cv-02989-AT Document 802 Filed 08/24/20 Page 7 of 52




      4.      I am engaged as an e pert in this case b Coalition for Good

Governance.

      5.      In developing m declaration and opinion, I visited Atlanta, Georgia,

to personall observe certain operations of the June 9, 2020 state ide primar , and

the August 11, 2020 runoff. During the June 9 election, I as an authori ed poll

 atcher in some locations and as a public observer in others. On August 11,

2020, I as authori ed as an e pert inspecting and observing under the Coalition

for Good Governance s Rule 34 Inspection activit in certain polling places and

the Fulton Count Election Preparation Center. I as a public observer in others.

As I ill e plain belo in this declaration, m e tensive e perience in voting

s stem securit and m observations in the t o mentioned elections lead to m

additional conclusions be ond those in m December 16, 2019 that:

      a) the electronic pollbooks are based on general purpose consumer grade

           hard are and operating s stems. The are not and cannot be adequatel

           secured against malfunctioning or attacks. The require the standard,

           universall recommended risk reduction practice of having current paper

           pollbook backups to be used to issue ballots in the event of emergencies,

           equipment unreliabilit , or e-pollbook discrepancies;




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 Case 1:17-cv-02989-AT Document 802 Filed 08/24/20 Page 8 of 52




b) furthermore, in m processional opinion, backed b     SELECT

   COMMITTEE ON INTELLIGENCE UNITED STATES SENATE ON

   RUSSIAN ACTIVE MEASURES CAMPAIGNS AND

   INTERFERENCE IN THE 2016 U.S. ELECTION volumes I-V,

   electronic pollbook s stems present a compelling attack surface for an

   domestic or foreign adversarial actor ho considers disruption or so ing

   discord as one of the goals and therefore has to al a s have immediatel

   available backup process;

c) if Georgia s PollPad s stem has been set to permit unlimited issuance of

   BMD voter access cards for a single voter, this ould constitute a high

   risk and non-standard election process;

d) the voting s stem, including its PollPad and BMD related components, is

   being operated in Fulton Count in a manner that escalates the securit

   risk to an e treme level.




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        Case 1:17-cv-02989-AT Document 802 Filed 08/24/20 Page 9 of 52




P       Pa     Ob      a

      6.      Election observation on Peachtree Christian Church. M observation

at Peachtree Christian Church polling place as authori ed b the Rule 34

inspection.

      7.      The polling location manager e plained that he has been instructed to

start using the paper backup to check in voters onl after po er outage hich has

lasted over 30 minutes.

      8.      He sho ed me the paper voter list, that based on the title page,

appeared to have been prepared for June 9 primar election. (See Picture at E hibit

A). Maril n Marks took this picture as she and I inspected the printed voter list.

      9.      Election observation on Central Park Recreation Center. I observed

that the PollPad at one point had to be shut do n and restarted at one station in

attempt to troubleshoot a ireless net orking issue. After restarting, the PollPad

required no pass ord from the operator to begin processing voter access

smartcards to activate the Ballot Marking Device.

      10.     Subsequentl , I as able to atch the State of Georgia Poll Pad

Training Session for the August 11 election. David Green alt, Training

Administrator for Southeast Elections Director for Kno Ink sa s One of the

things that ou ll notice if ou orked in the June election, hen e hit the Get

                                          4
       Case 1:17-cv-02989-AT Document 802 Filed 08/24/20 Page 10 of 52




Started Button, e did not have to do the Poll Manager Log In. Um. It as

decided after the June election that that as a redundant securit measure and so

 e have e cluded the Poll Worker Log In Screen from the process for the August

election. at 10:22 -10:44. This video is available at:

    :// a e .   e .c   / de /440680300?a        a =1

      11.    Permitting operation of electronic pollbooks ithout pass ord

protection is an unacceptable practice from a voting s stem, or an s stem

processing sensitive data, securit standpoint. Federal Information Processing

Standards allo no access to sensitive s stems ith eak pass ords, obviousl no

pass ord is categoricall banned.

      12.    As seen in June in Georgia and across the United States, electronic

poll-book s stems frequentl face issues causing dela ed openings of the

polling locations and/or long lines. Man times, e planations for electronic poll-

book failures have not been investigated, hile some studies have found issues

in s stem design. Measures like removing pass ords, and therefore eakening

the securit should never be a orkaround to reliabilit issues.

      13.    Other states like Ne Hampshire have added contingenc

requirements, for e ample that the electronic poll-book s stem must be able to



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       Case 1:17-cv-02989-AT Document 802 Filed 08/24/20 Page 11 of 52




produce an in-location paper backup hen needed allo ing resuming operation

on paper ith ma imum allo ed dela of 15 minutes.

      14.   Election observation in Central Park Recreation Center. M August

11 observation at Central Park Recreation as authori ed b the Coalition s Rule

34 inspection.

      15.   The Poll place manager told me that no Dominion trained technician

had reported on location to help them that morning.

      16.   Poll orkers told me that the electronic poll books ere failing to

s nchroni e their check-ins, and therefore the diverted into a manual process to

add up the totals from the poll books. When I as present, poll orkers started to

troubleshoot the issue. Within 10 minutes, the reali ed that 3 out of 4 poll books

 ere s nchroni ing and one of the poll books as not connecting to the others

 hile not providing an other indication of that than a ello    arning icon. The

poll orkers told me that, until this troubleshooting, hich started about 1 hour and

45 minutes after the polls had been opened, the poll orkers had assumed that

none of the pollbooks s nchroni ed ith each other. It is unclear if that as the

original situation hich had partiall self-cured, but ith lack of arning

messages, the poll orkers ere apparentl missing the changing status of the

 ireless net ork.

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       Case 1:17-cv-02989-AT Document 802 Filed 08/24/20 Page 12 of 52




      17.    While the    ere attempting to troubleshoot the issue b rebooting,

one of the poll orkers reali ed hich poll books had the problem and said that

she kne ho to access Wi-Fi and Bluetooth setting of the poll books. The

managed to reset the connections and connect all poll books around 9 am of the

Election Da to orking condition.

      18.    Election observation in Fanple location. I as at the Fanple polling

place authori ed b the Rule 34 inspection. The Fanple Polling location had

accurac issues ith the electronic pollbooks. Voters belonging to a ne precinct

(0F1) included in the location ere not found on the electronic pollbook s stem.

Poll atchers and poll orkers reported that once the poll officials follo ed the

telephone instructions of the Elections Office, the voters in 0F1 precinct appeared

in the PollPad. Ho ever, all voters in the precinct ere reportedl displa ed as

having voted a mail ballot, although voters stated it as inaccurate.

      19.    It is impossible ithout an in-depth e amination to kno the cause of

the problem that ould cause the voter records to appear in these improper a s.

These are prime e amples of the need for an updated back up paper pollbook so

that such discrepancies can be handled in the polling place permitting voting to

continue.




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       Case 1:17-cv-02989-AT Document 802 Filed 08/24/20 Page 13 of 52




      20.    Election observation at Park Tavern. I as at Park Tavern polling

place authori ed b the Rule 34 inspection. Poll orkers operating electronic

pollbooks e plained that during this election the   ere not connected into the

Internet like the   ere in the previous election. The stated that the are using

local area ireless net orking.

      C

      21.    The current implementation of electronic pollbooks is not stable and

caused dela ed openings of the polling locations and long lines. To tr and

correct this instabilit , pass ords ere removed, but removing the pass ords

makes them a vulnerable, high risk high re ard attack target for an adversar of

an skill level ho either seeks publicit or is deliberatel disenfranchising

targeted voters. Pass ords must be required. In addition, it is imperative that up-

to-date paper pollbook backups to be used to issue ballots in the event of

emergencies, equipment unreliabilit , or e-pollbook discrepancies.



                                      E ecuted this 21st da of August 2020.

                                       ________________________
                                       Harri Hursti




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Case 1:17-cv-02989-AT Document 802 Filed 08/24/20 Page 14 of 52




                         EXHIBIT A


       Picture taken b Maril n Marks hen I as present:




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Case 1:17-cv-02989-AT Document 802 Filed 08/24/20 Page 15 of 52




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        Case 1:17-cv-02989-AT Document 802 Filed 08/24/20 Page 16 of 52




                     DECLARATION OF MARILYN MARKS

       Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the

foregoing is true and correct.

       1.     My name is Marilyn Marks.

       2.     I have personal knowledge of all facts stated in this declaration, and if

called to testify, I could and would testify competently thereto.

       3.     I am the Executive Director of Coalition for Good Governance, a

Plaintiff in this case.

August 11, 2020 Polling Place Observations

       4.     I personally observed polling place operations on August 11, 2020

Election Day in three Fulton County polling places and the Fulton County

tabulation center. I observed operations at Peachtree Christian Church, Central

Park Recreation, and the Fulton County Election Preparation Center under the

provisions of Rule 34 as part of Coalition Plaintiffs’ discovery activities. I

observed polling place operations at the Fanplex polling place as an authorized poll

watcher.

       5.     I accompanied Coalition’s consulting cybersecurity and ballot

scanning technology expert Harri Hursti in his security review of Election Day

activities. We arrived at Peachtree Christian Church at approximately 6:30 am

prior to the opening of the polls. Mr. Waymon Ware, the poll manager, greeted us



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       Case 1:17-cv-02989-AT Document 802 Filed 08/24/20 Page 17 of 52




and showed us the set up. Mr. Ware stated that he had managed this particular poll

since the mid-1990’s.

      6.     I was observing when one of the PollPads was malfunctioning and

had to be shut down and restarted. I noted that the worker was not required to enter

a password to put the PollPad in operation again.

      7.     This lack of password protection is consistent with the Secretary of

State’s video PollPad pollworker training specifically for the August 11, 2020

election which can be viewed at this link.

(https://player.vimeo.com/video/440680300?autoplay=1) The training beginning at

timestamp 7:15 does not reference a need for a password to operate the PollPad.

Richard Barron, Fulton County Election Director, also told me that the State now

considers the PollPad password to be an unneeded, redundant security measure.

By contrast, according to what I was told by representatives of Coalition for Good

Governance who observed the June 9, 2020 elections, at that time passwords were

required to start-up the PollPads.

      8.     I asked Mr. Ware to allow Mr. Hursti and me to review the paper

voter list that is supplied to the polling place by the Secretary of State. He said that

he rarely opens the sealed envelopes with the printed voter lists. He stated that it

would be a very unusual emergency such as losing all power and battery backup

that would cause him to use such a paper backup list.



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       Case 1:17-cv-02989-AT Document 802 Filed 08/24/20 Page 18 of 52




      9.     Mr. Ware showed me the voter list. To my surprise, the list was dated

June 9, 2020. Attached as Exhibit A is a true and correct copy of a photograph that

I took of the June 9, 2020 voter list that Mr. Ware showed me. The voter list

therefore appeared more than 2 months out of date and would not have included

voters who registered in the meantime, or shown that people voted early or

absentee in the August 11 election, or shown the party the voters selected for the

June 9 election so that the proper runoff ballot could be issued.

      10.    Mr. Ware told Mr. Hursti and me several times that provisional ballots

are used for all “emergencies,” and that any voter issued a paper ballot would be

required to complete provisional paperwork and submit it as a provisional ballot.

      11.    Mr. Ware showed me his 700 ballot stock of emergency or provisional

ballots. He stated that the number of registered voters at this polling place was

approximately 5,000.

      12.    I heard a voter tell a poll worker that he had not received the mail

ballot that he had requested. I then overheard one of the poll workers calling the

Elections Office to determine whether a ballot from this voter had been received.

After several minutes of being on hold and then talking with the Elections Office

personnel, the pollworkers issued the voter a smartcard using the PollPad in order

to activate the BMD.




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       Case 1:17-cv-02989-AT Document 802 Filed 08/24/20 Page 19 of 52




      13.    I confirmed with one of the pollworkers that they were required to call

the office to obtain this information about all voter’s absentee ballots rather than

check the paper voter list because the paper list was not current.

      14.    During my time at the Peachtree Christian polling place I was able to

see from over 30 feet away how most voters were voting because of the size and

position of the screens. The positioning of the equipment permitted the poll

workers to have a direct view at almost all times of the voters’ votes on most of the

touchscreens.

      15.    Although the printed BMD ballot was short and easy to review, less

than half of the voters I observed voting at Peachtree Christian took the time to

review the printed ballot before casting it in the scanner.

      16.    Mr. Hursti and I then went to the Central Park Recreation polling

place where the traffic was very light. The pollworkers told us about the long lines

that they had experienced on the June 9 Election Day. These long lines were

widely reported, including in the following Washington Post article.

(https://www.washingtonpost.com/politics/voting-june-9-

primaries/2020/06/09/df6b8aa2-a9e7-11ea-a9d9-a81c1a491c52_story.html )

      17.    Ms. Kathleen King served as the provisional ballot poll officer. She

told me in detail about the problems the poll worker team had with the Poll Pads

on the June 9 Election Day -- the majority of the PollPads were inoperable causing



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       Case 1:17-cv-02989-AT Document 802 Filed 08/24/20 Page 20 of 52




a dramatic slow-down in voting. When the PollPads malfunctioned, the Central

Park Recreation polling place had no ability to process emergency hand marked

paper ballots (despite having plenty of ballots) because pollworkers, without a

paper pollbook backup, had no way to determine if voters were eligible. Ms. King

stated that the inoperability of PollPads on June 9 was primarily due to the lack of

enough power cords or back up batteries.

      18.    It was clear to me in talking with Ms. King and Mr. Ware that the

State had not provided the training or documentation required to use emergency

hand marked paper ballots for either the June 9 or August 11 elections. With no

current up-to-date paper pollbook, the pollworkers had no way to know whether to

issue a ballot to a voter presenting herself to vote, other than calling the Elections

Office, if they could reach someone on the phone. Pollworkers also complained

that it was difficult to reach someone on the phone at the Fulton Elections office.

I overhead phone conversations on the poll workers’ speaker phones in Peachtree

Christian and Fanplex polling places. Some poll workers were put on hold several

minutes at a time – an intolerable delay given the need for prompt information.

      19.     Attachment B is a true and correct copy of public records produced

by Henry County and annotated by Beatrice Brown, CGG intern, under my

supervision. Exhibit B is a selection from the Henry County Electors List that was

provided to Henry County by the Secretary of State. These pages have been



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       Case 1:17-cv-02989-AT Document 802 Filed 08/24/20 Page 21 of 52




annotated by Ms. Brown to show the activity for the particular voters listed that

occurred after the printing of the voter lists. Ms. Brown obtained the annotated

information from the Henry County June 9 election mail and in-person absentee

(early voting) files from the Secretary of State’s website. The annotations show

that the Henry County Electors List provided by the Secretary of State for the

polling place did not show activity recorded after approximately May 25, 2020 for

the June 9 election.

      Pollpad Failure to Control Access Card Issuance

      20.    In a conversation with Cherokee County Voting System Manager

Johnathan Densmore on or about August 4, 2020, Mr. Densmore told me that in

testing the PollPads in Cherokee County, he learned that the PollPad system

permits the issuance of multiple access cards to a single voter.

      21.    He told me that he tested the Cherokee County PollPads and

determined that he could issue an unlimited number of encoded cards to a voter,

and that would permit the voter to create and cast multiple ballots.

      22.    I received an email from Mr. Densmore on August 19, 2020

confirming that Cherokee County’s PollPads do not limit the number of cards to be

issued to a voter. A true and correct copy of the email is attached at Exhibit C.




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       Case 1:17-cv-02989-AT Document 802 Filed 08/24/20 Page 22 of 52




PollPad and Ballot Accounting--Ballot Recap Sheets

      23.     Coalition for Good Governance representatives working under my

supervision made a public record inspection of the Fulton County Ballot Recap

Sheets for the June 9 election. Attached as Exhibit D is a true and correct copy of

seven Ballot Recap Sheets. The Ballot Recap Sheet is used to ensure that the

number of voters and ballots cast in the polling place as shown by the public

counters on the PollPads, BMD touchscreens and the precinct scanner agree (or

can be reconciled) at the close of the polls. As stated in the title (in bold) at the

bottom of the first page of Exhibit D: “Section C: Grand Totals – Number of

Persons Voting (all totals 1-3 should match).”

      24.    However, many Ballot Recap Sheets reported a material difference

between the 3 counts required. Exhibit D is just a small sample of the many recap

sheets that did not reconcile. To attempt to determine the cause of these

discrepancies, one would need to access the PollPad logs, the scanner logs, the

BMD logs, the ballots themselves, or provisional ballot logs, depending on the

particular discrepancy. Coalition for Good Governance has not had access to

additional Fulton County public records to determine the causes of the

discrepancies.

      Executed this 20th day of August 2020.

                                         _________________________
                                         Marilyn Marks

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Case 1:17-cv-02989-AT Document 802 Filed 08/24/20 Page 23 of 52




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               Case 1:17-cv-02989-AT Document 802 Filed 08/24/20 Page 24 of 52

                 FULTON ELECTOR S LIST FOR COUNTY PRECINCT/COUNTY DISTRICTS
                    06/09/2020 - JUNE 9, 2020 GEN . PRI./GEN. NP/SPEC . ELECTION
                                   Confidential - for internal use only
recinct: 02W




                                       "-Jc11y20zo
Case 1:17-cv-02989-AT Document 802 Filed 08/24/20 Page 25 of 52




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                                 Case 1:17-cv-02989-AT Document 802 Filed 08/24/20 Page 26 of 52




                               Elect ion Day
                                      The Line
• Have the poll workers monitor voters in line to ensure there is
  no campaigning in line or wearing campaign materials .                  ~-=--
                                                                             ====-== fUl.
                                                                                      =TON
                                                                                        ="""""
                                                                                           ===~
                                                                                gfF)G IA L ~~IIIONAUCN.&I..UNQ:a)e.J,.L01'


• Have the poll worker notify the voters of the required
  identification needed to vote and to have it ready to present
  to the poll work at the Poll Pad Station.                                                            "-~~......,
                                                                           ~-==--                        "':.:~
• Consider providing that poll worker with an electors list, a                                        0;~--
                                                                                                      P
                                                                                                                               0 .,_IUIIM

                                                                                                                               o ~-

  portable Poll Pad, or a device that can access MVP to look up                                            ~=-
                                                                                                       .. t:1111'~.,._         o -,--

  voters in line to ensure that they are at the correct polling            -1--.Jiiii=:===l oa.,...
  location.                                                                                I-....: =~
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                                                                                                                               Cf


• If the line is caused by a long ballot or long questions on the
                                                                                                           ~~                I-----=
                                                                                                                                                  ..
                                                                                                                                                 ~-

  ballot, be sure to have extra sample ballots available to pass
  out to voters in line. The more prepared they are when they                                              lllQIIIALLDrG\'UlfOC~WDIO              -
  get to the voting machine, the quicker you will be able to
  process them.

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                                     Case 1:17-cv-02989-AT Document 802 Filed 08/24/20 Page 27 of 52




                                       ectors List
                            Three Listsat Polling Place
          There are three separate lists of voters at each polling location
Poll Pad - Poll Pad digitally stores registered voter information for each county in Georgia. Poll
Pads allows you to search for voters and check their eligibility for the election. If they have not
voted during Advanced in Person or by Absentee by Mail, they are issued a voter card to vote. The
voter inserts the card into the Touchscreen, makes their selections and prints their ballot and
then after reviewing their ballot, inserts it into the Polling Place Scanne.r to cast their vote. The
voter is added to the Numbered List of Voters.
Supplemental List - The supplemental list contains the voters that met the Voter Registration
deadljne, but did not meet the deadline for the Poll Pad upload. Anyone that is not on the Poll
Pad but is on the supplemental list is allowed to vote on the Touchscreen unit. These voters do
not need to vote provisionally. A voter card is manually created for these voters.
Paper Back Up List- The paper back up list is a list of all the electors in your precinct. If your
polling place loses power or your Poll Pads stop working for some reason, you do not have to stop
processing voters. This is what the paper list is for.

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                                         Case 1:17-cv-02989-AT Document 802 Filed 08/24/20 Page 28 of 52




                                       Elecf on Day
                                     PollingPlaceStations
                        Poll Pad Station
• At this station
    • The voter is searched in the Poll Pad using the voter's
      ID by scanning or manually entering the voter's name
          • If found, the voter certificate process is started
          • If the voter cannot be verified as eligible to vote,
             the voter should be escorted to the Provisional
             Ballot Station
    •   Voter completes the electronic voter certificate
    •   A voter card is encoded with the ballot and given to
        the voter
    •   The voter's name is electronically added to the
        Numbered List of Voters
    •   The voter is then directed to the Touchscreen and
        Printer Station
                                                                                                           111




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              Case 1:17-cv-02989-AT Document 802 Filed 08/24/20 Page 29 of 52




(Can 't Supplies)

Q: What's the latest on using security paper for absentee and emergency ballots?
A: We will not be using Secure paper for those ballots.

Q: Will the header for the primary ballots be color coded like in the past or will they be
black and white?
A : They will be black and white only .

Q: Will we have enough provisionals to cover the issue?
A: You will need to have paper ballots for provisional voting and for some backup scenarios.
Consult SEB Rules 183-1 - 12- .11, 183-1 -12-.18 , and 183- 1-12- .20 to ensure there are enough
paper ballots for various scenar ios while conducting elections .

Q: Will the voter certificates we need to have at the polls on Election Day in case of
emergency be the same as we used in 2018 or are they new?
A: 2019 Version.

Q: Do we need specific information on the type of paperto use for
Absentee/Provisional/Emergency?
A : The paper specifications and the qualified printers have been posted to Firefly> Training >
Dominion Voting Systems> Checklist and Quick Reference Guides .

Q: Is the Secretary of State providing any ballot paper at all or is it totally up to the
counties to order the paper from Dominion?
A : It is the responsibility of the counties to order the paper.

Q: Could I order some absentee ballots from Printer Company and then print the rest of             my
absentee ballots after I get the ballot printer and EMS System?
A: Yes , we suggest you make plans to order your ballots from a printer for the PPP .

Q: Are we going to use paper voter certificates on Election Day?
A: No.

Q: Are Blackout screens for the ICX allowable?
A : We are looking at solutions to the screen privacy issue. Be sure to arrange BMDs to assure
vo ter privacy. See SEB Rule 183- 1-12-.11(4) .

Q: Have the absentee ballot envelopes changed in size?
A: No.




                                                 4
              Case 1:17-cv-02989-AT Document 802 Filed 08/24/20 Page 30 of 52




(Con't Procedures - Before Voting)

Q: Will it be a requirement of the poll manager to take custody of the blank ballot paper like
they currently do with Expresspolls, electors list, etc. to bring to the polling place?
A: No. The ballot paper can be delivered with the printers and secured with the polling place
equipment.

Q: Will we use paper voter certificates?
A: Only as emergency backup. The electronic voter certificate on the Poll Pad will be used for
Election Day. See SEB Rule 183- 1-12-.11-Conducting Elections.

Q: What am I supposed to do with all the Secure the Vote posters I received?
A: These posters and pamphlets are for your use to promote the new system and educate the
voters. We encourage you to put up the posters in your county buildings and put the pamphlets
out in your public reception areas .

Q: What does "secure the equipment at the polling place'* mean?
A: Sea SEB Rule 183-1-12- .04 - Storage , Maintenance, and Transport of Statewide Voting
System Components .
   • The space where the components are stored shall be secured and accessible only to
      persons authorized by the election superintendent. S.e.eSEB Rule 183-1-12-.04(2) .
   • The storage areas for the voting system components at the county election office or other
      designated county facility shall be equipped with one or more of the named forms of
      surveillance listed in SEB Rule 183-1-12-.04(3). See Rule 183-1-12-.04(3) for examples .
   • The election Superintendent shall maintain numbered seals on all electronic ballot markers
      and ballot scanners in storage and all seal numbers shall be recorded and on file in the
      office of the election superintendent. See SEB Rule 183-1-12-.04(4) .
   • All components of the voting system shall be securely transported to polling places.
      Electronic ballot markers (including printers) and ballot scanners shall be transported in
      secure boxes or carrying cases . See SEB Rule 183-1-12- .04(5) .
   • Upon delivery to a polling place in preparation for a primary, election, or runoff, all
      components of the voting system shall be secured and protected from unauthorized access .
      See SEB Rule 183-1-12-,04(6) .




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               Case 1:17-cv-02989-AT Document 802 Filed 08/24/20 Page 31 of 52




                            USING EMERGENCY PAPER BALLOTS


If an emergency situation makes utilizing the electronic ballot markers impossible, Impracticable, or if
emergency ballots are otherwise needed as determined by the election superintendent, the poll
officer shall issue the voter an emergency paper ballot that is to be filled out with a pen after verifying
the identity of the voter and that the person is a registered voter of the precinct. While the
determination of an emergency situation is in the discretion of the election superintendent, the types
of events that may be considered emergencies are power outages, malfunctions causing a sufficient
number of electronic ballot markers to be unavailable for use, or waiting times longer than 30
minutes. (SEB Rule 183-1-12-.11 (2) (c) & (d))

Items Needed:
•   Emergency Ballots
    o The election superintendent shall cause each polling place to have a sufficient amount of
      emergency paper ballots so that voting may continue uninterrupted if emergency
      circumstances render the electronic ballot markers or printers unusable. For any primary or
      general election for which a state or federal candidate is on the ballot, a sufficient amount of
       emergency paper ballots shall be at least 10% of the number of registered voters assigned to a
       polling place. (SEB Rule 183-1-12- .11 {2)(c)}
    o Emergency Ballots must be secured prior to use.
•   Pens
    o Dominion Voting Approved Pens
        • Sharpie Fine Point Black (part#: 30001 SKU: 071641300019).
        • Paper Mate Flair M Medium Point Black , (part#: 8430152, SKU: 041540843016).


Voting Procedures:
•   The poll officer shall verify the identity of the voter and that the person is a registered voter of the
    precinct.
•   On the Poll pad, the poll officer will select ''Emergency Ballot" instead of "Touchscreen," and hit
    'submit 11 in order to finalize check-in of the voter . No voter access card is needed or created.
•   The poll officer shall provide an emergency ballot to the voter that is to be filled out with a pen .
•   The voter shall mark their ballot with a pen in an area that provides voter privacy.
•   The voter shall scan their ballot in the scanner connected to the ballot box.
•   Emergency ballots shall not be treated as provisional ballots, but instead shall be placed into the
    scanner in the same manner that printed ballots in the polling place are scanned.
•   All unused emergency ballots shall be placed into a secure envelope and sealed such that the
    envelope cannot be opened without breaking such seal.



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         Case 1:17-cv-02989-AT Document 802 Filed 08/24/20 Page 32 of 52




         \                 l-)          II

voter access card from the touchscreen component , review the selections on his or her printed
ballot scan his or her printed ballot into the scanner, and return the voter acces card to a poll
officer. Then the voter shall exit the enclosed area of the polling place .

          c) If an emergency situation makes utilizing the electronic ballot markers impossible or
impracticable, as detennined by the election superintendent the poll officer shall issue the voter
an emergency paper ballot that is to be filled out with a pen after verifying the identity of the voter
and that the person is a regi tered voter of the precinct. Emergency paper ballots shall not be treated
as provisional ballots, but instead shall be placed into the scanner in the same manner that printed
ballots in the polling place are scanned. The election superintendent shall cause each polling place
to have a sufficient amount of emergency paper ballots so that voting may continue uninterrupted
if emergency circumstances render the electronic ballot markers or printers unusable. For any
primary or general election for wh i h a state or federal candidate is on the baJlot, a sufficient
amount of emergency paper ballots shall be at least 10% of lhe number of registered voters to a
polling place . The poll manager shall store all emergency ballots in a secur manner and ensure
that all used and unused emergency ballots are accounted for . All unused emergency ballots shall
be placed into a secure envelope and seal ed such that the envelope cannot be opened witbout
breaking such seal .

        (d) lf an emergency situation exist · that makes voting on the let:tronic hallo markers
impossible or impracticable, the poll manager shall alert the election superintendent as soon as
possible. The existence of an emergency situation shall be in the discretion of the election
supervisor. However if a poll manager is unable to contact the election superintendent after
diligent effort , the poll manager hall have the ability to declare that an emergency situation exists
at the polling place . The po11 manager shall continue diligent efforts to contact the election
superintendent and shall inform the superintendent as soon as possibl of the situation at the
polling place. The election superintendent, in his or her discretion shall either overrule or concur
with the declaration of emergency circumstances . While the determination of an emergency
situation is in the discretion of the election superintendent, the type of events that may be
considered emergenc ies are power outages , malfunctions causing a sufficient nmnber of electronic
ballot markers to be unavailable for u e, or waiting times longer than 30 minutes.

3. At least once each hour during the time while the poll are open, the poll officers shall examine
the enclosed space to verify that no unauthorized matter has been affixed to any voting system
component or placed in the voting booth and that the voting system components have not been
tampered with in any manner . Poll officers shall also check that no unattended ballots are left in
the printer or anywhere in the enclosed pace other lhan the appropriat ballot box. Any unattended
ballots found in the enclosed space that do not belong to a voter currently in the enclosed space
shall not be counted but shall be secured and labelled as unattended ballots .

4. The poll.mg place shall be arranged in sucb a manner as to provide for the p.rivacy ofth elector
while voting and to allow monitoring of each voting system component by the poll officers while
the polls are open. Th electronic ballot markers and ballot scanners used in the polling place shall
be set up in a manner to assure the privacy of the eJector while casting his or her ballot while
maintaining the security of ucb units against tampering, damage, or other improper condu t. In
addition at least one ballot markin g device shall be configw-ed for voting by physically disabled


                                             Page 10 of24
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                                           Case 1:17-cv-02989-AT Document 802 Filed 08/24/20 Page 33 of 52
                                    HENRY ELECTORS LIST FOR COUNTY PRECINCT/COUNTY DISTRICTS
                                       06/09/2020 -- JUNE 9, 2020 GEN. PRI./GEN. NP/SPEC. ELECTION
                                                       Confidential- for internaluse only
County Precinct 25
  IDR
  No
        Voter
        ~eg#     EL   RO   Status   Name
                                                l   Date of
                                                     ....
                                                       r-+h     Reside,roe Address
                                                                                      District
                                                                                      Combo#
                                                                                                 CNG   SEN   HSE   JUD   COM
                                                                                                                          ,
                                                                                                                               SCH
                                                                                                                                f
                                                                                                                                        WRD    MUNIB   SCM   SBD    Chall
                                                                                                                                                                     NO

  No                                                                                                                      1     1                                    NO

  No                                                                                                                      1     1        LRG                         NO

  No                                                                                                                      ,     1
                                                                                                                                    Ballot issues 4/22/2020 Not returned
                                                                                                                                                                    NO


                                                                                                                                    Ballot issues 4/29/2020 Not returned
  No                                                                                                                      1    1                                    NO



                                                                                                                                      Returned 6/3/2020
  No                                                                                                                      1    1                                     NO


                                                                                                                                      Returned 6/3/2020
  No                                                                                                                     1     1                                     NO

  No                                                                                                                      ,    ,                                     NO

  No                                                                                                                      1    1                                     NO

  No                                                                                                                      1    1                                     NO

  No                                                                                                                      1    1                                     NO

  No                                                                                                                     1     1                                     NO


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  No                                                                                                                     1     1        LRG                          NO

  No                                                                                                                      1    1        LRG                          NO

  No
                                                                                                                                                              ,.
                                                                                                                         1     1        LRG                          NO


  No                                                                                                                     1     1                                     NO


  No                                                                                                                     1     1                                     NO


  No                                                                                                                      1    1                                     NO


  No                                                                                                                      1    1                                     NO


  No                                                                                                                      1    1                                     NO


  No                                                                                                                      1    1                                     NO
                                            Case 1:17-cv-02989-AT Document 802 Filed 08/24/20 Page 34 of 52
County Precinct: 25
         Voter                                    Dale of                              District
  IDR             EL   RO   Status   Name                        Residence Address                CNG   SEN   HSE   JUD   COM   SCH   WRO    MUNIS   SCM   SBD   Chall
         ReQ#                                      Birth                              Combo#
                                                                                                                           1     1                                NO

                                                                                                                           ,     1                                NO


                                                                                                                           1     1                                NO


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                                                                                                                           1     1                                NO


                                                                                                                          1      1     LRG                        NO


                                                                                                                          1      1                                NO



                                                                                                                                      Returned 6/1/2020
                                                                                                                          1      1                                NO


                                                                                                                          1
                                                                                                                                      Returned 6/3/2020
                                                                                                                                 1                                NO


                                                                                                                           1     1     LRG                        NO
                                                                                                                                                            ,.
                                                                                                                           ,     1     LRG                        NO


                                                                                                                           1     1
                                                                                                                                      Returned 5/22/2020          NO


                                                                                                                           1     1     LRG                        NO
                                                                                                                                Ballot issued 4/22/2020 Not returned
                                                                                                                           1     1                                NO


                                                                                                                          1      1                                NO

                                                                                                                           ,     1                                NO


                                                                                                                           1     1     LRG                        NO




                                                                                9
                                            Case 1:17-cv-02989-AT Document 802 Filed 08/24/20 Page 35 of 52
County Precinct: 25         -
         Voter                                   Date of                              District
  IDR             EL   RO   Status   Name                       ResidenceAddress                 CNG   SEN   HSE   JUD   COM   SCH   WRD    MUNIB   SCM   SBD       Chall

                                                                                                                          1     1                                    NO


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                                                                                                                               1                                     NO
                                                                                                                          '
                                                                                                                          1    1                                     NO


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                                                                                                                                     Returned 5/26/2020
                                                                                                                          1     1                                    NO


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                                                                                                                          1     1    LRG                             NO

                                                                                                                          1     1                                    NO




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                      Case 1:17-cv-02989-AT Document 802 Filed 08/24/20 Page 36 of 52
County Precinct: 25
                                                                                        COM      SCH   WRD    MUNIS   SCM      SBD           Chall

                                                                                                       Returned 6/1/2020
                                                                                         1       1                                            NO


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                                                                                                       Returned 5/26/2020                     NO


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                                                                                                       Returned 5/26/2020                     NO

                                                                                         ,       1      LRG                                   NO

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                                            Case 1:17-cv-02989-AT Document 802 Filed 08/24/20 Page 37 of 52
County Precinct: 25
  IDR
         Voter
         Reg#     EL   RO   Status   Name
                                                  I   Date of
                                                       Birth
                                                                  Residence Address
                                                                                        District
                                                                                       Combo#
                                                                                                   CNG   SEN   HSE   JUD   COM
                                                                                                                            1
                                                                                                                                 SCH

                                                                                                                                  1
                                                                                                                                       WRD
                                                                                                                                        LRG
                                                                                                                                              MUNIS   SCM   SB□   Chall
                                                                                                                                                                   NO


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                                                                                                                                       Returned 5/30/2020
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                                                                                                                                       Returned 5/14/2020
                                                                                                                                                                   NO

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                                                                                                                            1    1     LRG                         NO

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                                                                                                                                 '
                                                                                                                            1    1                                 NO
                              Case 1:17-cv-02989-AT Document 802 Filed 08/24/20 Page 38 of 52
                       HENRY ELECTORS LIST FOR COUNTY PRECINCT/COUNTY DISTR ICTS
                          06/09/2020 -- JUNE 9, 2020 GEN . PRI./GEN. NP/SPEC. ELECTION
                                          Confidential- for internaluse only
County Precinct : 26

                                                                                                SCH   WRD   MUNIS   SCM          580          Chall

                                                                                                 1
                                                                                                      Returned 5/8/2020                        NO



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                                                                                                 1                                             NO


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                                                                                                      Returned 5/21/2020                       NO


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                                                                                                      Returned 4/30/2020
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                                                                                                      Returned 5/21/202
                                                                                                 1                                             NO


                                                                                                 1                                             NO
                                                                                                      Returned 5/27/2020



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                                           Case 1:17-cv-02989-AT Document 802 Filed 08/24/20 Page 39 of 52
County Precinct 26
        Voter                                     Date of                             District
  IDR
        Reg#     EL   RO   Status   Name                         Residence Address
                                                                                      Combo#
                                                                                                 CNG   SEN   HSE   JUD    COM   SCH   WRD   MUNIB   SCM   SBD   Chall
                                                   Bi@
                                                                                                                   FUN    1      1                               NO

                                                                                                                   FLIN   1      1                               NO

                                                                                                                   FLIN    1     1                               NO

                                                                                                                   FLIN   1      1                               NO

                                                                                                                   FLIN   1      1                               NO

                                                                                                                   FLIN   ,      1                               NO

                                                                                                                   FLIN   1      1                               NO

                                                                                                                   FLIN   1     1                                NO

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                                                                                                                   FLIN   1     1                               NO

                                                                                                                   FUN    1     1                               NO

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                                                                                                                   fLJN   1     1                               NO

                                                                                                                   FUN    1     ,                               NO

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                                                                                                                   FLIN   1     1

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                                                                                                                   FUN    1     1                               NO

                                                                                                                   FLIN   1     1                               NO

                                                                                                                   FLIN   1     1                               NO

                                                                                                                   FUN    1     1                               NO

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Case 1:17-cv-02989-AT Document 802 Filed 08/24/20 Page 40 of 52

                                                                  COM   SCH      WRD   MUNIB   SCM    SBD   Chall
                                                                   I     1
                                                                             Issued 4/21/2020 Not Returned   NO


                                                                   1     1                                   NO


                                                                   1     1                                   NO


                                                                   1     1                                   NO

                                                                   1     1
                                                                                Returned 5/26/2020           NO


                                                                   1     1        Returned 5/26/2020         NO



                                                                                  Returned 5/26/2020
                                                                   1     1                                   NO

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                                                                  1     1                                    NO


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                                                                                 Returned 5/26/2020
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                                                                                 Returned 6/8/2020           NO


                                                                  1     1                                    NO


                                                                  1     1                                    NO


                                                                  1     1
                                                                                 Returned 5/26/2020          NO


                                                                   1    ,                                    NO


                                                                   1    1                                    NO



                                                                                 Returned 6/10/2020
                                                                   1    1                                    NO


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                                                                   1     1                                   NO


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                              15
Case 1:17-cv-02989-AT Document 802 Filed 08/24/20 Page 41 of 52

                                                                  OM   SCH   WRD   MUNIB   SCM    SBD   Chall
                                                                  1     l                                NO

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                                                                  I    1                                 NO


                                                                  1    1                                 NO


                                                                  l    1                                 NO


                                                                  1    1                                 NO


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                                                                              Returned 5/6/2020          NO


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                                                                             Returned 5/22/2020
                                                                  1    1                                 NO


                                                                  1                                      NO
                                                                             Returned 5/22/2020 ,,
                                                                       1


                                                                  1    1
                                                                             Returned 5/22/2020          NO


                                                                  1    1                                 NO


                                                                  1
                                                                       Issued 4/21/2020 Not Returned
                                                                       1                                 NO


                                                                  1    ,                                 NO


                                                                  1    1                                 NO


                                                                  1    1                                 NO


                                                                  1    1                                 NO




                              16
Case 1:17-cv-02989-AT Document 802 Filed 08/24/20 Page 42 of 52

                                                                  H   WRD   MUNIS   SCM     SBD   Chall
                                                                                                   NO


                                                                                                   NO


                                                                                                   NO


                                                                                                   NO


                                                                                                   NO


                                                                      Returned 6/9/2020            NO


                                                                                                  NO


                                                                                                   NO



                                                                      Returned 6/9/2020
                                                                                                  NO


                                                                      Returned 6/9/2020           NO


                                                                                                  NO




                                                                      Returned 6/8/2020


                                                                      Returned 6/8/2020


                                                                      Returned 5/22/2020
                                                                       Returned 5/22/2020



                                                                                                   NO




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Case 1:17-cv-02989-AT Document 802 Filed 08/24/20 Page 43 of 52




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            Case 1:17-cv-02989-AT Document 802 Filed 08/24/20 Page 44 of 52
                                               Thursday, August 20, 2020 at 11:08:27 Eastern Daylight Time

Subject: Re: Follow up on Poll Pad func1on and mul1ple card issuance
Date: Wednesday, August 19, 2020 at 12:58:21 PM Eastern Daylight Time
From: Johnathan Densmore
To:      Marilyn Marks

Good aJernoon Mrs. Marks. Yes, the aMorney or someone did not fully understand that ques1on. I
have all the test ballots from L&A for the June elec1on, and I will be glad to get those to you
electronically. I do have a small issue however, due to the required space for all of the Dominion
equipment, we are having to move our oﬃce loca1on and I will not have the ability to scan the ballots
un1l the copy/scanner is installed at the new loca1on. I should be able to begin copying those ballots
on Friday of this week, or Monday at the latest.

Yes per our conversa1on, the poll pads can issue an unlimited number of voter access cards to same
voter, with no override pass-code or anything required from the Elec1on Oﬃce.

Thank you
Johnathan

From: Marilyn Marks <Marilyn@USCGG.org>
Sent: Wednesday, August 19, 2020 11:11 AM
To: Johnathan Densmore <johndenz80@hotmail.com>
Cc: Kim Stancil <kstancil@cherokeega.com>; Samantha Whitley <cgganalyst2@gmail.com>
Subject: Follow up on Poll Pad func1on and mul1ple card issuance

Hello Johnathan,
I hope that all went well in the August 11 runoff.

I want to follow up on our discussion about the Poll Pads and your observation of their ability
to issue multiple ballots voter access cards. As I understood what you told me, through your
testing, you determined that if a pollworker wished to issue multiple voter access cards to a
voter, the PollPad does not limit multiple card issuance for activation of the BMDs which would
allow for creating multiple ballots. Please confirm whether I stated this correctly.

Also if there are documents including notes on this topic, please forward them as a public
record.

Thanks very much for your help and service to Cherokee voters.

Marilyn Marks
Executive Director
Coalition for Good Governance
Cell: 704 292 9802
Marilyn@USCGG.org
Follow me @MarilynRMarks1




                                                                                                    Page 1 of 1
Case 1:17-cv-02989-AT Document 802 Filed 08/24/20 Page 45 of 52




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Case 1:17-cv-02989-AT Document 802 Filed 08/24/20 Page 46 of 52
                               1
Case 1:17-cv-02989-AT Document 802 Filed 08/24/20 Page 47 of 52
                               2
Case 1:17-cv-02989-AT Document 802 Filed 08/24/20 Page 48 of 52
                               3
Case 1:17-cv-02989-AT Document 802 Filed 08/24/20 Page 49 of 52
                               4
Case 1:17-cv-02989-AT Document 802 Filed 08/24/20 Page 50 of 52
                               5
Case 1:17-cv-02989-AT Document 802 Filed 08/24/20 Page 51 of 52
                               6
Case 1:17-cv-02989-AT Document 802 Filed 08/24/20 Page 52 of 52
                               7
